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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


    IN RE: Family Dollar Stores, Inc.,            )
    Pest Infestation Litigation                   )
                                                  )
                                                                2:22-md-03032-SHL-tmp
                                                  )
    This Document Relates To:                                   (MDL Docket No. 3032)
                                                  )
    ALL CASES                                     )
                                                  )


          ORDER GRANTING MOTION FOR STATUS CONFERENCE AND ISSUING
                       CASE MANAGEMENT ORDER NO. 1


          Before the Court are a Motion for Status Conference filed by all Plaintiffs1 in this matter.

(ECF No. 4), and a Response filed by all Defendants. 2 (ECF No. 8.) Plaintiffs seek to convene a

Status Conference to address a leadership structure for the Multi-District Litigation (“MDL”), a

schedule for Plaintiffs to file a consolidated Complaint and for Defendants’ responsive



1
  All counsel for Plaintiffs in the following cases join in this Motion: Whitney v. Family Dollar,
Inc., 22-cv-02138 (W.D. Tenn. filed Mar. 4, 2022), Smith v. Family Dollar, Inc., et al., 2:22-cv-
00043 (E.D. Ark. filed Mar. 14, 2022); Brown v. Family Dollar, Inc. et al., 2:22-cv-00040 (E.D.
Ark. filed Mar. 10, 2022); Perrone, et al. v. Family Dollar, Inc., 22-cv-03056 (W.D. Mo. filed
Mar. 8, 2022); Brown, et al. v. Family Dollar, Inc. et al., 22-cv-00105 (S.D. Ala filed Mar. 7,
2022); Fields, et al. v. Family Dollar, Inc., 22-cv-00611 (W.D. La. filed Mar. 13, 2022); Lacy, et
al. v. Family Dollar, Inc., 22-cv-00098 (S.D. Miss. filed Feb. 23, 2022); Mull v. Family Dollar
Stores of Tenn., et al., 22-cv-0272 (W.D. Tenn. filed May 2, 2022); Sharp v. Family Dollar et al.,
22-cv-00090 (E.D. Ark. filed Mar. 30, 2022.); Robertson, et al. v. Family Dollar Stores of Ark.,
et al., 22-cv-00269 (E.D. Ark. Filed Mar. 24, 2022.); Rogers v. Family Dollar, et al., 22-cv-2159
(W.D. Tenn. filed Mar. 10, 2022); Robinson, et al. v. Family Dollar Inc., 22-cv-2182 (W.D.
Tenn. filed Mar. 24, 2022); and Smith, et al. v. Family Dollar Services LLC t/a Family Dollar, et
al., 22-cv-00208 (E.D. Va. filed Feb. 25, 2022). While Plaintiffs included this original case
information in their Motion, these cases are now docketed as part of the MDL litigation with new
case numbers, as noted on the docket.
2
  In their Response, Defendants argue that multiple complaints involved in this litigation “name
improper entities that should not be parties to this action,” but that Defendants will confer on
these issues with Plaintiffs’ counsel before a consolidated complaint is filed. (ECF No. 8.)
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pleadings, and any other appropriate issues, including possible third-party claims and the

initiation of discovery.

         Defendants join in Plaintiffs’ request for a Status Conference. (ECF No. 8 at PageID 26.)

They also “submit that the appropriate sequencing should be the filing of a motion to appoint

interim lead class counsel pursuant to Rule 23(g)(3), the filing of a consolidated amended

complaint, and then briefing legal challenges to the claims in this action.” (Id.) Defendant also

provides the Court with information regarding a potential visit to the West Memphis facility at

issue in this litigation. (Id.) Finally, in response to Plaintiffs’ reference to a separate civil action

by the Attorney General of Arkansas 3 involving some counsel who are also participating in this

matter, Defendants submit that these matters also be coordinated for purposes of discovery and

pretrial activities. (Id.)

         Finding cause, the Court GRANTS the Motion. This matter is scheduled for an Initial

Case Management Conference (“CMC”) on July 15, 2022 at 3:00 p.m. via Teams.

    I. Initial Case Management Conference

         One purpose of the CMC is to discuss an organizational structure for the Parties’

leadership counsel. At this Conference, the Court will, among other things, appoint lead and

liaison counsel for Plaintiffs and Defendants. 4 Pending that announcement, the Court also offers



3
  State of Arkansas vs. Family Dollar Stores, Inc., No. 60CV22-2725 (Ark. Cir. Ct. Pulaski Cty.,
filed Apr. 28, 2022).
4
 The Manual for Complex Litigation contemplates two different roles for counsel in the
organizational structure of an MDL. Lead Counsel is “[c]harged with formulating (in
consultation with other counsel) and presenting positions on substantive and procedural issues
during the litigation.” Manual for Complex Litigation §10.221 at 25 (Federal Judicial Center 4th
ed. 2004). Liaison Counsel is “charged with essentially administrative matters, such as
communications between the court and other counsel (including receiving and distributing
notices, orders, motions, and briefs on behalf of the group), convening meetings of counsel,
advising parties of developments in the case, and otherwise assisting in the coordination of
                                                   2
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to the Parties the opportunity to be appointed interim liaison counsel 5 for the purposes of the

CMC. If counsel wishes to be considered for interim liaison counsel, you must submit your

name and curriculum vitae/resume to the Court’s email address

(ECF_Judge_Lipman@tnwd.uscourts.gov) by Monday, June 27, 2022. One interim liaison

counsel will be appointed for Plaintiffs and one for Defendants. All other counsel are invited to

attend the Conference but are not required to do so. Additionally, attendance at this CMC will

not waive objections to jurisdiction, venue, or service.

        Once appointed, interim liaison counsel for both Plaintiffs and Defendants shall meet and

confer in advance of the CMC and shall, at least seven (7) days prior, submit a joint proposed

agenda via the Court’s email address (ECF_Judge_Lipman@tnwd.uscourts.gov). In addition to

any other issues raised by counsel, the agenda shall include the following items and submissions:

        A. Designation of Counsel. Each Interim Liaison Counsel shall designate one

            additional attorney to speak on the Party’s behalf during the initial conference, and

            such designation shall be included in the joint statement to be filed by noon on

            July 8, 2022.

        B. Submission of Contact List. The Interim Liaison Counsel shall present to the Court

            at the CMC a list of all counsel of record, together with their contact information

            (addresses, work and cell telephone numbers, fax numbers, and e-mail addresses).



activities and positions.” Id. at 24.
5
  Interim liaison counsel is responsible for organizing the required pre-conference submissions
outlined below, directing the activities of the Parties during the initial Conference, and
performing such other duties incidental to the proper coordination of pretrial activities. Interim
liaison counsel will receive, and, as appropriate, distribute copies of Orders and Notices from the
Court and documents from opposing parties to counsel. Interim liaison counsel shall forward a
copy of this Order and of additional orders issued before the appointment of lead and liaison
counsel to other involved attorneys.
                                                 3
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           These submissions should be in electronic format, such as a Word document or PDF.

       C. List of Related Cases. Interim liaison counsel shall file a statement listing all known

           related cases pending in state or federal court in the Master Docket by noon on

           July 8, 2022.

       D. Rule 7.1 Disclosures. To assist the Court in identifying any problems of recusal or

           disqualification, all counsel shall file disclosures that comply with Federal Rule of

           Civil Procedure 7.1 in the Master Docket by noon on July 1, 2022.

       E. Case Management Order. The Court will hear suggestions on the content and

           timing for submission of a proposed Case Management Order (“CMO”). Interim

           Liaison counsel should submit proposed draft CMOs by noon on July 8, 2022, which

           shall include a proposed schedule for a consolidated complaint and responsive

           pleadings; for dispositive motions; for discovery and disclosures; for class

           certification and its opposition; for expert reports, expert discovery, and Daubert

           motions, and their opposition; and pretrial conference and trial dates. Additionally,

           the Court suggests any proposed CMO should address the following:

           (a) establishment of a document repository, and agreement on a document production

           format that is search-capable; 6 (b) coordination with state court litigation; and (c) use

           of a preservation order, if appropriate. The Court will discuss these matters with the

           parties at the CMC.




6
  See, e.g., In re: Heparin Prods. Liab. Litig., MDL No. 1953, Case No. 08-HC-60000 Pretrial
Order No. 8 at ¶¶ 6(a-1) (N.D. Ohio Sept. 15, 2008) (Master Docket No. 28) (setting out
comprehensive procedures for the production of documents and electronically stored
information).
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      F. Position Briefs. The Interim Liaison Counsel shall coordinate the submission of

          position briefs, one from Plaintiffs and one from Defendants, by July 12, 2022. The

          briefs should outline the primary facts, claims and defenses involved in this litigation,

          as well as the anticipated critical factual and legal disputes and possibility of

          settlement.

 II. Interim Measures

      Until otherwise ordered by the Court:

      A. Applicability of Order. Before the Court’s entry of a comprehensive Case

          Management Order (“CMO”) governing all further pretrial proceedings in this case,

          the provisions of this Order shall govern the practice and procedure in all actions

          transferred to this Court by the Judicial Panel on Multidistrict Litigation (“JPML”)

          pursuant to its Order of June 2, 2022. (In re: Family Dollar Stores, Inc., Pest

          Infestation Litigation, Case No. 2:22-md-03032-SHL tmp (filed June 2, 2022), “MDL

          Transfer Order”). This Order also applies to all related cases and to any “tag-along

          actions” later filed in, removed to, or transferred to this Court.

      B. Consolidation. The civil actions assigned to MDL No. 3032 are consolidated for

          pretrial purposes. Any “tag-along actions” later filed in, removed to, or transferred to

          this Court before the establishment of MDL No. 3032 or after, will automatically be

          consolidated with this action without the necessity of future motions or orders. This

          consolidation, however, does not constitute a determination that the actions should be

          consolidated for trial, nor does it have the effect of making any entity a party to any

          action in which that party has not been named, served, or added in accordance with

          the Federal Rules of Civil Procedure.



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      C. Local Rules and Procedures. Counsel shall familiarize themselves with this Court’s

         Local Rules and with the current edition of the Manual for Complex Litigation, which

         is hereby adopted by the Court for general guidance. The provisions of this Order

         supersede any inconsistent provisions of the Court’s Local Rules. Counsel also

         should note that the Court has established a webpage dedicated specifically to this

         litigation. See https://www.tnwd.uscourts.gov/22md3032.php. The Court will post

         Case Management Orders Applicable to “All Cases” on this website, as well as select

         orders from individual member actions and other relevant information.

      D. Master Docket. The Clerk of this Court will maintain a Master Docket case file

         under the designation “In Re: Family Dollar Stores, Inc., Pest Infestation Litigation”

         and the identification “MDL No. 3032.” The Master Docket will only include

         documents related to “All Cases.”

      E. Filing Procedures.

             o CM/ECF. All filings shall be done electronically using the Case

                Management/Electronic Case Files system, in accordance with the Electronic

                Filing Policies and Procedure Manual for the United States District Court for

                the Western District of Tennessee. Service through ECF shall be deemed

                sufficient with no additional service required, with the exception of new

                Complaints filed and Subpoenas issued, which shall be done in accordance

                with the Federal Rules of Civil Procedure. Questions about filings in this case

                may be directed to the Clerk’s Office at:

                    Anthony Johnson
                    MDL Clerk, Court of Clerk’s Office
                    901-495-1207
                    Anthony_johnson@tnwd.uscourts.gov

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           o Master Docket Filings. If a document is applicable to all actions, this shall

              be indicated by the words “All Cases” contained in the caption and it should

              be filed only on the Master Docket.

           o Case-Specific Documents. When a document is intended to apply to less

              than all cases, this Court’s docket number for each individual case to which

              the pleading relates shall appear immediately after the words “This Document

              Relates to.” Case-specific documents shall be filed in the relevant member

              action only and not in the Master Docket. For example, a motion to remand a

              member action to state court should be filed in the relevant member action

              only and not in the Master Docket.

           o Notice of Electronic Filing. With regard to case-specific filings, all attorneys

              of record in the relevant member action will receive a Notice of Electronic

              Filing (“NEF”) from the Court. For documents filed in the Master Docket,

              only those attorneys identified in the Master Docket as Counsel of Record will

              receive an NEF. When the Court appoints lead and liaison counsel, such

              counsel will be the only Counsel of Record in the Master Docket. As stated,

              these counsel will be responsible for service upon other attorneys and parties.

           o Notice of Appearances. Counsel who appeared in a transferor court prior to

              transfer need not enter an additional appearance before this Court. Moreover,

              attorneys admitted to practice and in good standing in any United States

              District Court are admitted to practice in this litigation pursuant to Rule 1.4 of

              the Rules of Procedure of the Judicial Panel on Multidistrict Litigation. The

              requirements of Local Rule 3.1 regarding admission pro hac vice are



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                 otherwise waived. Association of local counsel is not required. Counsel

                 appearing in this MDL are expected to familiarize themselves with all prior

                 Court orders and proceedings, as well as the Local Rules of the Western

                 District of Tennessee.

      F. Pleadings. Each Defendant is granted an extension of time for responding by motion

         or answer to the complaint(s) until a date to be set at the conference.

      G. Orders of Transferor Courts. All orders by transferor courts imposing dates for

         pleading or discovery are VACATED. No new discovery shall be initiated, and any

         outstanding proceedings are STAYED. This Order does not (1) preclude voluntary

         informal discovery regarding the identification and location of relevant documents

         and witnesses; (2) preclude parties from stipulating to conduct a deposition that has

         already been scheduled; (3) prevent a party from voluntarily making disclosures or

         responding to an outstanding discovery request under Federal Rule of Civil Procedure

         33, 34, or 36; or (4) authorize a party to suspend its efforts in gathering information

         needed to respond to a request under Rule 33, 34, or 36. Relief from this stay may be

         granted for good cause shown, such as the ill health of a proposed deponent.

      H. Motions. Any motion pending in an action transferred to this district court from

         another jurisdiction is deemed DENIED WITHOUT PREJUDICE and must be re-

         filed in this district court.

      I. Preservation. Before the entry of a formal protective order, all Parties must take

         reasonable steps to preserve documents and other records (including electronic

         documents) containing information potentially relevant to the subject matter of this

         litigation.



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       J. Communications. Unless otherwise ordered by this Court, all substantive

           communications with the Court shall be in writing (to

           ECF_Judge_Lipman@tnwd.uscourts.gov), with copies to opposing counsel,

           facilitated by Interim Liaison Counsel. Requests for specific dates and times for

           hearings should not be made without prior consultation with opposing counsel

           seeking agreement. The Court recognizes that cooperation by and among plaintiffs’

           counsel and by and among defendants’ counsel is essential for the orderly and

           expeditious resolution of this litigation. The sharing of information in connection

           with this MDL among and between plaintiffs’ counsel and among and between

           defendants’ counsel shall not be deemed a waiver of the attorney-client privilege or

           the protection afforded attorney’s work product, and the cooperative efforts

           contemplated above shall in no way be used against any plaintiff by any defendant or

           against any defendant by any plaintiff. Nothing contained in this provision shall be

           construed to limit the rights of any party or counsel to assert the attorney-client

           privilege or the attorney work-product doctrine.

 III. Leadership and Liaison Counsel Appointments

       The Court will appoint Lead and Liaison Counsel for both Parties. Applications for these

positions must be submitted for in camera review to the Court on or before July 8, 2022, via the

Court’s email address (ECF_Judge_Lipman@tnwd.uscourts.gov). Attorneys are welcome to

attach a curriculum vitae to the application. Each submission should be no longer than 10

double-spaced pages. The Court will only consider an attorney who has filed a civil action in

this litigation or who is an attorney of record in a case that has been or will be removed or

transferred to this MDL.



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       The Court intends to establish a balanced leadership team that reflects diversity of all

types and which has the synergy to capably steer this litigation to resolution. Applicants shall

address their (1) willingness and ability to commit to a time-consuming process; (2) current

court-appointed legal commitments; (3) ability to cooperate with others; (4) professional

experience in this type of litigation; (5) particular knowledge and expertise that will benefit all

Plaintiffs or Defendants this case; (6) involvement in relevant litigation to date; (7) qualities that

make them uniquely situated to serve in a leadership capacity in this case; and (8) access to

sufficient resources to advance the litigation in a timely manner. Applicants should specify the

leadership role they seek. Counsel applying for any of these positions should be available for a

short interview via Teams should the Court determine that interviews are necessary.

       IT IS SO ORDERED, this 23rd day of June, 2022.


                                                       s/ Sheryl H. Lipman
                                                       SHERYL H. LIPMAN
                                                       UNITED STATES DISTRICT JUDGE




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